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       District 3

    Population Statistics                      Ethnicity                    Voter Statistics

City of Buffalo                 81,605   White                  27,097   Registered Voters     47,433
Town of Cheektowaga              1,926   % White               32.44%
                                         Black                  49,839   Democrats             37,492
Total Population                83,531   % Black               59.67%    Republicans            3,667
Deviation                          -18   American Indian           461   Conservatives            210
% Deviation                    0.00022   % American Indian      0.55%    Working Families         225
                                         Asian                   1,731   Independence           1,099
Age 18+                         65,035   % Asian                2.07%    Green                    121
                                                                         Other                    234
                                         Hispanic Origin         7,545   Blank                  4,385
                                         % Hispanic Origin      9.03%
                                                                         Male                  20,840
                                         Black 18+              36,605   Female                26,593
                                         % Black 18+           56.29%
                                         Hispanic Origin 18+     5,097   Age 18 - 24            4,722
                                         % Hispanic 18+         7.83%    Age 25 - 34            8,790
                                                                         Age 35 - 40            4,527
                                                                         Age 41 - 45            3,984
                                                                         Age 46 - 54            8,626
                                                                         Age 55 - 61            6,026
                                                                         Age 62+               10,758

                                                                         Federal Voters          207
                                                                         Military Voters          78
                                                                         Disabled                840
                                                                         Nursing Home            264

                                                                         Voted 2007 Election   12,423
                                                                         Voted 2009 Election    8,393
